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                                                                                         MW®
                                                                                              DEC fl 2023
                        IN THE UNITED STATES DISTRICT COURT
                                                                                         Clerk, U.S. District Court
                         FOR THE EASTERN DISTRICT OF TEXAS                                    Texas Eastern



                                                           Case                  No.

CLINTON STRANGE,
Plaintiff                                                     CIVIL ACTION COMPLAINT
v.                                                          FOR DAMAGES & INJUNCTIVE
MCAFEE LLC,                                                  RELIEF PURSUANT TO THE:
Defendant                                     Texas Harmful Access by Computer Act of 2015

                            /                        TEX. PENAL CODE ANN. § 33.02 et. seq.

     JURY TRIAL DEMANDED
                                         NATURE OF SUIT:

     1. This is an action brought by an adult individual plaintiff CLINTON STRANGE

        ( PLAINTIFF ), who is proceeding pro se, against the Anti-Virus Software giant

        MCAFEE, LLC , ( DEFENDANT or “MCAFEE ) for alleged violations of Texas Law.


                                  JURISDICTION & VENUE:
     2. Jurisdiction primarily arises in this U.S. District Court under 28 U.S. Code § 1332

        Diversity of Citizenship because there is amount in controversy (based on the aggregate

        relief sought) that far exceeds $75,000 between Plaintiff ( a Louisiana Resident), and

        Defendant McAfee LLC, a Delaware Limited Liability Company who has no Officers

        and or Directors in Louisiana.

     3. Venue lies proper in this U.S. District because although Defendant (McAfee) is a

        Delaware Limited Liability Company with a principal place of business in San Jose,

        California; their nerve center regarding Marketing Activities is located in Collin County,

        Te as where their Executive Senior Vice President of Marketing resides pursuant to 28

        U.S. Code § 1391.


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                                       THE PARTIES:

    4. Plaintiff CLINTON STRANGE is a person as that term is defined under Tex. Civ.

       Prac. & Rem. Code § 33.004 residing at the address of 7021 Winburn Drive, Greenwood,

       LA 71033.

    5. Defendant McAfee LLC is a Delaware Limited Liability Company and a person as

       that term is defined under Tex. Civ. Prac. & Rem. Code § 33.004 principally

       headquartered in San Jose. California that maintains a Marketing Activities nerve center

       in Collin, County, Texas and an Executive Senior Vice President of Marketing here.


                                FACTUAL ALLEGATIONS:
            McAfee Was Made Aware of the Affiliate Misconduct in February 2021

    6. NeeP made McAfee aware of Affiliate ID No. 1494 s misconduct in February 2021.

         Plaintiff was First Targeted in Cross-Channeled Communications in May 2022

    7. Plaintiff received PayPal Account Alerts Impersonation Email-to-Text Messages on his

       Verizon Cellphone in 2022 that led to McAfee Aff ID No. 1494 URL links.

    8. Plaintiff complained to McAfee regarding ScareWare Malvertisements prior to March

       2023 linked to Affiliate ID No. 1494.


 McAfee & Plaintiff A reement that Contain No Forward Lookin Remedies circa. March 2023

    9. Plaintiff & McAfee reached no agreement concerning forward-looking harm and or

       injury regarding Aff ID No. 1494 or 1079.


 High Profile Com laint to McAfee made by Jim Browning on Twitter X Platform (Se t. 2023)

    10. In September 2023, Jim Browning alerted McAfee that Affiliate 1494 was conducting a

       malevolent viral malware campaign (malware advertisements - malvertisements ').


                                     [See Below Figure A]



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      Spam Email Transmitted to Plaintiffs Google Mail Account in early November 2023

    11. In November 2023, McAfee Affiliate No. 1494 transmitted a spam email that contained

       m licious links while acting in the course and or scope of its agency and or employment

       of McAfee.


    12. Plaintiff promptly alerted McAfee s Deputy General Inside Counsel w/in 24-Hours via

       electronic mail with consent providing a copy of the email, and the associated URL

       Hyperlinks connecting McAfee and Affiliate No. 1494.


  Plaintiff Experiences Browser Interruption, Tres ass to Chattel, Surreptitious Harmful Access

    13. While Plaintiff was browsing the internet in late November 2023, McAfee Affiliate No.

        1494 unlawfully seized Plaintiffs desktop browser, collected information, and infected

       Plaintiffs desktop, and connected devices with a virus.

    14. Plaintiff promptly alerted McAfee s Deputy General Inside Counsel w/in 24-Hours via

       electronic mail with consent providing a screen-capture of the po -up, and the associated

       URL Hyperlinks connecting McAfee and Affiliate No. 1494.


                                   THE CAUSES OF ACTION:

                                     Cause of Action No. I

                             Damages - Compensable & Exemplar

             Violations of the Te as Harmful Access by Computer Act (HACA)

                                      (Plaintiff v. McAfee)
    15. Plaintiffincorporates all the foregoing paragraphs (Nos. 1-13) as though the same were

       set for herein at length.

    16. The HACA provides a civil cause of action for [a] person who is injured or whose

       property has been injured as a result of a violation under Chapter 33. The statute merely




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      requires that the access be without effective consent; it does not require injury. See

      Section 33.02(b).

   17. Plaintiff, pursuant to his 7th Amendment Right seeks a Trial by Jury to Determine his

      Actual Damages under this Cause of Action, and that said jury would determine

      Plaintiff s Exemplar (Punitive) Damages under Tex. Civ. Prac. & Rem. Code § 41.003.

      See Burleson State Bank v. Plunkett, 27 S.W.3d 605, 618 (Tex. App. Waco 2000, pet.

      denied).


                                    Cause of Action No. II

                 Injunctive Relief - Preliminary, Temporary, & Permanent

            Violations of the Texas Harmful Access by Computer Act (HACA)

                                     (Plaintiff v. McAfee)
   18. Plaintiff incorporates the foregoing paragraphs (Nos. 1-13) as though the same were set

      for herein at length.

   19. The HACA provides for Injunctive Relief enjoining ongoing, and or future violations.

      Here, Plaintiff can show that since May 2022, McAfee acting by and through a specific

      Affiliate 1494 has harmed Plaintiff, and likely will continue to harm Plaintiff via cross¬

      channeled illegal marketing methods which constitute prohibited marketing practices

      under Texas Law.

   20. Because Plaintiff has (or can show) that he (since May of 2022) (and other consumers)

      has/ have complai ed to McAfee since on or before March 2021 concerning these

      dubious and or unlawful business practices that the best remedy is for the Court to:

   • Issue a Temporary Restraining Order Enjoining McAfee (and or their Marketing

      Affiliates) from future cross-channeling campaigns that: (1) involve spoofed Email-to-

      Text SMS Impersonation Campaigns; (2) spoofed origin / deceptive header email


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       campaigns; and (3) scare-ware viral malvertisements pop-up browser redirection

       campaigns.


   • Issue a Permanent Restraining O der barring McAfee (either directly or via an Affiliate/

       Agent) from engaging in cross-channeling campaigns that: (1) involve spoofed Email-to-

       Text SMS Impersonation Campaigns; (2) spoofed origin / deceptive header email

       campaigns; and (3) scare-ware viral malvertisements “pop-up” browser redirection

       campaigns.

                                                              JURY TRIAL DEMANDED™
                                                               (As to All Issues So Triable)
WHEREFORE, Plaintiff Clinton Stran e seeks judgment in Plaintiffs favor and damages

against Defendant McAfee LLC based on the following requested relief:


   • Entitlement to Compensatory Damages to be Determined by a Jury under Count 1;

   • Entitlement to Exemplar Damages to be Determined by a Jury under Count I;

   • Entitlement to Preliminary / Temporary Relief Enjoining Violations unde Count II;

   • Entitlement to Permanent Injunctive Relief Enjoining Violations under Count II;

   • Post Judgment Interest Allowable under 28 U.S. Code § 1961;

   • Recovery of all allowable Costs of Litigation, Travel (Interstate Mileage), Meals &
       Lodging, Printing, Process Server Fees, Filing Fees to the Clerk;

   • , and such other and or further relief the Court deems necessary, just and or proper.


Respectfully, Submitted,

x                                                        .
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